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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF VIRGINIA

                                                 (Alexandria Division)


 MONA LISA BERRY,                                              )
                                                               )
           Plaintiff,                                          )
                                                               )
 v.                                                            ) Case No. #1:16-cv-897 (TSE/MSN)
                                                               )
 TARGET CORPORATION, et al.,                                   )
                                                               )
           Defendants.                                         )



                                             CONSENT DISMISSAL ORDER

           On consideration of the representation of the parties that they have resolved the issues

 giving rise to this lawsuit, this case is hereby dismissed with prejudice, each side to bear its own

 costs.


 Dated: November ____, 2016                                    ___________________________________
                                                               United States District Judge


 Seen and agreed:



 //s// Victor M. Glasberg                                                Dated: October 24, 2016
 Victor M. Glasberg, #16184
   Counsel for plaintiff
 BerryMona\Pleadings\ConsentDismissalOrder




 //s// J. Derek Turrietta                                                Dated: October 24, 2016
 J. Derek Turrietta, #35233
   Counsel for defendants
